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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

                                       Filed Electronically

DENNIS TOOLEY,                                      )
an individual,                                      )
                                                    )
       Plaintiff,                                   )
                                                    )         Case No.: 1:18-cv-01724-SEB-DLP
v.                                                  )
                                                    )
J & A S MADISON, LLC,                               )
An Indiana Limited Liability Company,               )
                                                    )
       Defendant.                                   )


                    AGREED ORDER OF DISMISSAL WITH PREJUDICE

       By agreement of the parties, and the Court being sufficiently advised and having

considered same,

       IT IS HEREBY ORDERED AND ADJUDGED that all claims asserted in the foregoing

action against J & A S Madison, LLC are DISMISSED WITH PREJUDICE, with the parties

bearing their own costs and attorneys’ fees.

       This _______ day of _______________________, 2018.


                                                    ____________________________________
                                                    UNITED STATES DISTRICT JUDGE
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AGREED TO; TO BE ENTERED:


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